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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

  Bashir Noor Elmi,                                          Case No. 22-cv-3073 (KMM/DJF)

                          Plaintiff,

  v.                                                                       ORDER

  Nuka Express Inc.,

                          Defendant.



       Plaintiff Bashir Noor Elmi alleges that his employer, Defendant Nuka Express Inc. (“Nuka

Express”), refused to pay him approximately $47,000 in wages owed. There are two problems

with Mr. Elmi’s complaint, however, that the Court must address.

       First, it is not clear that the District of Minnesota is an appropriate venue for this litigation.

Under 28 U.S.C. § 1391(b),

               [a] civil action may be brought in—

                       (1) a judicial district in which any defendant resides,
                       if all defendants are residents of the State in which
                       the district is located;

                       (2) a judicial district in which a substantial part of the
                       events or omissions giving rise to the claim occurred,
                       or a substantial part of property that is the subject of
                       the action is situated; or

                       (3) if there is no district in which an action may
                       otherwise be brought as provided in this section, any
                       judicial district in which any defendant is subject to
                       the court’s personal jurisdiction with respect to such
                       action.

       In his complaint, Mr. Elmi alleges this Court is an appropriate venue for this litigation

because he resides in Minnesota. (See ECF No. 1 at 3). But a plaintiff’s residency is not relevant

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to determining venue under section 1391(b); what matters is either: (1) the defendant’s residency;

or, (2) the locus of the events or omissions giving rise to the litigation. If Mr. Elmi cannot establish

that Nuka Express resides in Minnesota for purposes of section 1391(b), or that a substantial part

of the events or omissions at issue took place in Minnesota, then this Court is likely not an

appropriate venue for this lawsuit.

        Second, and more importantly, it is not altogether clear that this lawsuit belongs in any

federal court. Federal courts are courts of limited jurisdiction—that is, they have the power to

adjudicate disputes only if the federal constitution and federal statute permits the court to

adjudicate that dispute. See, e.g., Gunn v. Minton, 568 U.S. 251, 256 (2013). Mr. Elmi alleges

that 28 U.S.C. § 1331 supplies original jurisdiction over this lawsuit (see ECF No. 1 at 3), but it is

not altogether clear that Mr. Elmi’s pleading presents any question of federal law. Mr. Elmi does

not expressly invoke any federal statute in his complaint apart from section 1331 itself, and his

claim appears to arise more naturally under state law than federal law. Nor does Mr. Elmi allege

that the parties are of diverse citizenship, a requirement for invoking 28 U.S.C. § 1332(a) as a

statutory basis for the Court’s jurisdiction. Moreover, even if the parties are of diverse citizenship,

section 1332(a) supplies a federal court with subject-matter jurisdiction only when more than

$75,000 is at stake between the parties, and Mr. Elmi appears to be seeking less than that amount

in damages. (See ECF No. 1 at 4.) This lawsuit might therefore belong in state court rather than

federal court.

       The Court therefore orders Mr. Elmi to show cause as to why it should not dismiss this

matter without prejudice, either for lack of jurisdiction or because he filed it in an improper venue.

Mr. Elmi must respond to this order to show cause within 35 days with either: (1) a memorandum

explaining why the Court should not dismissal his complaint; or (2) an amended complaint curing



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the problems related to jurisdiction and venue. Failure to respond within 35 days may result in

dismissal of this action either for failure to prosecute, see Fed. R. Civ. P. 41(b), or on jurisdictional

grounds, see Fed. R. Civ. P. 12(h)(3).

        Finally, to assist Mr. Elmi in preparing his response or amended complaint, the Court will

refer Mr. Elmi by separate correspondence to the Pro Se Project, a program of the Minnesota

Federal Bar Association that attempts to connect unrepresented individuals with volunteer lawyers

who may agree to donate time to talk about their cases. This Court encourages Mr. Elmi to seek

assistance from an attorney should he intend to go forward with this lawsuit.

        SO ORDERED.

  Dated: December 30, 2022                             s/ Dulce J. Foster
                                                       Dulce J. Foster
                                                       United States Magistrate Judge




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